











Opinion issued June 14, 2010
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-10-00420-CV




IN RE ALLEN ROY MILLER, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Allen Roy Miller, challenges the trial
court’s order granting a plea to the jurisdiction.                  
We deny the petition for writ of mandamus.  All outstanding motions are
overruled as moot.  
Per Curiam&nbsp;
&nbsp;
Panel consists of Justices Jennings, Alcala, and Massengale.  



